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August 24, 2018

Via ECF and U.S, Mail

Hon. Renee M. Bumb, U.S.D.J.

United States District Court

Mitchell H. Cohen Building & U.S. Courthouse
4th & Cooper Streets, Room 1050

Camden, NJ 08101

Re: Salvatore, et al. v. A3 Technology, Inc.
Case No. 1:18-cv-09584-R

Dear Judge Bumb:

This firm represents Plaintiffs in the above referenced matter, in which Plaintiffs are
seeking to recover damages related to their employment and discharge from Defendant A3
Technology, Inc. Please accept this communication in response to the Court’s August 22, 2018
Order, (Dkt. No. 25) requiring counsel for the parties to confer and submit a status letter to the
Court. Counsel for the parties have conferred and discussed the allegations raised in Plaintiff's
First Amended Complaint for purposes of streamlining the allegations and to potentially avoid
motion practice.

Based on those discussions, Plaintiffs will seek leave to amend the First Amended
Complaint to remove certain claims and to add another entity who Plaintiffs believe was acting as
ajoint employer. Plaintiffs also intend to confer again with counsel for Defendant prior to seeking
leave to amend, for the purpose of reviewing the contents of the proposed Second Amended
Complaint in a further good faith effort by the parties to avoid motion practice. Due to the
upcoming holiday and the need for Plaintiffs counsel to discuss the proposed changes with
Plaintiffs, we anticipate on filing for leave to file the Second Amended Complaint pursuant to
Local Rule 15.1 no later than September 14, 2018.
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Respectfully submitted,
O’BRIEN, BELLAND & BUSHINSKY, LLC

/s/ Matthew B. Madsen, Esquire

David F. Watkins Jr., Esquire
Matthew B. Madsen, Esquire

ee: Colin G. Bell, Esquire (Via ECF, U.S. Mail)
